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                        THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)



UBIQUITI INC.,

               Plaintiff,                            Civil Action No. 1:22cv00352
       v.                                            (RDA / IDD)

BRIAN KREBS,

and

KREBS ON SECURITY, LLC,

               Defendants.


 CONSENT MOTION TO ENLARGE TIME FOR FILING RESPONSIVE PLEADINGS
                 AND BRIEF IN SUPPORT THEREOF

       COME NOW the parties, by counsel, and, pursuant to the Federal Rules of Civil Procedure,

files this Consent Motion to Enlarge Time for Filing Responsive Pleadings and in Support Thereof,

setting forth following:

       1.      Plaintiff Ubiquiti Inc. filed suit against Defendants Brian Krebs and Krebs on

Security, LLC alleging defamation.

       2.      Defendants’ responsive pleadings are presently due on or before July 20, 2022.

       3.      The parties believe a brief extension of the deadline by which Defendants must file

their responsive pleadings will permit the parties to conclude their settlement discussions. Since

the Court previously extended the time for Defendants to answer the complaint, the parties have

executed a term sheet and are working to finalize a settlement agreement that will dispose of this

litigation. The parties wish to extend the time for Defendants to file their responsive pleadings,


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by fourteen days, to August 3, 2022.

       4.     The parties join in requesting the extension described herein, pursuant to Federal

Rules of Civil Procedure 6(b)(1), in accordance with the proposed order which is attached as

Exhibit A.

       WHEREFORE, in consideration of the foregoing, the parties respectfully move this Court

to extend the time for Defendants Brian Krebs and Krebs on Security, LLC to file their responsive

pleadings to August 3, 2022.



 Dated: July 19, 2022                         Respectfully Submitted,

                                              /s/ David S. Wachen
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                                              Krebs On Security, LLC




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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on this 19th day of July 2022, I caused a copy of the foregoing to be

filed electronically. Notice of this filing will be sent by e-mail to the following:

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                               Counsel for Plaintiff Ubiquiti Inc.




                                                 /s/ David S. Wachen
                                                 David S. Wachen (VSB No. 96363)




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